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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-64-CKK
v. : MAGISTRATE NO. 21-MJ-265

TOMMY FREDERICK ALLAN : VIOLATIONS:
: 18 U.S.C. §§ 1512(c)(1) and 2 (Corruptly
Defendant. : Altering, Destroying, Mutilating, or

: Concealing a Record, Document, or Other
Object)
18 U.S.C. §§ 1512(c)(2) and 2
(Obstruction of an Official Proceeding)
18 U.S.C. § 641 (Theft of Government
Property)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(A)
(Entering and Remaining on the Floor of
Congress)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
From on or about January 7, 2021, through on or about January 16, 2021, TOMMY

FREDERICK ALLAN corruptly altered, destroyed, mutilated, and concealed a record,
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document, or other object, or attempted to do so, with the intent to impair the record, document or
other object’s integrity or availability for use in an official proceeding, to wit, a cellphone and a
Facebook account.

(Corruptly Altering, Destroying, Mutilating, or Concealing a Record, Document, or
Other Object, in violation of Title 18, United States Code, Section 1512(c)(1) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia and elsewhere, TOMMY
FREDERICK ALLAN attempted to, and did, corruptly obstruct, influence, and impede an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of
the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United
States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, TOMMY FREDERICK
ALLAN, did embezzle, steal, purloin, knowingly convert to his use and the use of another, and
without authority, sold, conveyed and disposed of any record, voucher, money and thing of value
of the United States and any department and agency thereof, that is, a United States flag and Senate
documents, which have a value of less than $1000.
(Theft of Government Property, in violation of Title 18, United States Code, Section
641)
COUNT FOUR
On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN did unlawfully and knowingly enter and remain in a restricted building and grounds, that
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is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK
ALLAN did knowingly, and with intent to impede and disrupt the orderly conduct of Government
business and official functions, engage in disorderly and disruptive conduct in and within such
proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK
ALLAN willfully and knowingly entered and remained on the floor of a House of Congress and
in any cloakroom and lobby adjacent to that floor, in the Rayburn Room of the House of
Representatives, and in the Marble Room of the Senate, without authorization to do so.

(Entering and Remaining on the Floor of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(A))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK
ALLAN willfully and knowingly engaged in disorderly and disruptive conduct in any of the

Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
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of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT EIGHT

On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK
ALLAN willfully and knowingly paraded, demonstrated, and picketed in any United States
Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
